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   5
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   6
   7
   8                          IN THE UNITED STATES DISTRICT COURT
   9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                                        LOS ANGELES DIVISION
  11
                                                                   2:19-cv-8946-DSF-JPR
  12 KENNETH EARL MOORE,
                                                                   PLAINTIFF’S THIRD AMENDED
  13           Plaintiff,                                          COMPLAINT
           vs.
  14   CERRITOS, DEPUTY SHERIFF, LOS
  15   ANGELES COUNTY SHERIFF
       DEPARTMENT, and INEZ,
  16   SERGEANT, LOS ANGELES
  17   COUNTY SHERIFF DEPARTMENT,
  18                  Defendants.
  19
  20
  21
  22
  23
  24                                      JURY TRIAL DEMANDED
  25
  26
  27
  28
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   1   Plaintiff KENNETH EARL MOORE (hereinafter, “Moore” or the “Plaintiff”) hereby
   2   alleges as follows:
   3
                                        JURISDICTION AND VENUE
   4
               1.       Jurisdiction over Plaintiff’s federal law claims is founded upon 28
   5
       U.S.C. § 1331 [federal question jurisdiction] and 28 U.S.C. § 1343(a)(3) [federal civil
   6
   7   rights jurisdiction]. All claims for violation of Plaintiff’s rights under the laws and
   8   the United States constitution are brought pursuant to 42 U.S.C. § 1983.
   9           2.       Venue is proper under 28 U.S.C. § 1391 in that the incidents forming
  10
       the basis of the complaint occurred within the general area of Los Angeles, which is
  11
       located in the Central District of California.
  12
                                                       PARTIES
  13
  14           3.       Plaintiff Kenneth Earl Moore (“Plaintiff”) is a transgender woman
  15   currently incarcerated at the Richard J. Donovan Correctional Facility.
  16           4.       At all times relevant to the Complaint, Defendant CERRITOS (
  17
       “Cerritos”) was a Deputy Sheriff in the Los Angeles County Sheriff Department
  18
       (hereinafter, “LASD”). All actions alleged herein by Cerritos were taken under color
  19
       of state law and in the course and scope of his employment with LASD.
  20
  21           5.       At all times relevant to the Complaint, Defendant INEZ ( “Inez”) was a
  22   Deputy Sheriff in the LASD. All actions alleged herein by Inez were taken under
  23   color of state law and in the course and scope of her employment with LASD.
  24
               6.       At all times relevant set forth herein, all Defendants acted in concern
  25
       and as agents of one another.
  26
                                          FACTUAL ALLEGATIONS
  27
  28
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   1           7.       In early September of 2018, Plaintiff was a California Department of
   2   Corrections and Rehabilitation (hereinafter, “CDCR”) parolee, both homeless and
   3
       working as a sex-worker in west Los Angeles at Jefferson Boulevard and Crenshaw.
   4
               8.       Defendant Cerritos drove up to the Plaintiff in his car and propositioned
   5
       the Plaintiff, offering $20.00 in exchange for the Plaintiff performing oral sex on him.
   6
   7           9.       The Plaintiff took the $20.00 and ran off without performing the
   8   requested sexual services.
   9           10.      Defendant Cerritos then pursued the Plaintiff in his vehicle, yelling,
  10
       “Hey, come back, you owe me!” from the window. However, the Plaintiff escaped.
  11
               11.      Approximately a week later, Defendant Cerritos was patrolling in his
  12
       vehicle in the downtown area of Los Angeles known for being a hotbed of people
  13
  14   working as sex-workers.
  15           12.      Defendant Cerritos then approached the Plaintiff in his car wearing
  16   civilian clothes and angrily accused the Plaintiff, stating, “You owe me sex!”
  17
               13.      The Plaintiff informed Defendant Cerritos that she was waiting for a
  18
       date and told him to leave her alone.
  19
               14.      At that point, Defendant Cerritos angrily got in his car and sped off.
  20
  21           15.      Later that evening, Defendant Cerritos, this time in the uniform Los
  22   Angeles Sheriff’s Department (hereinafter, “LASD”), approached the Plaintiff
  23   pointing a handgun at her and stating, “Get in. I’m taking you to jail. If you run, I’ll
  24
       shoot you!”
  25
               16.      At that time, the Plaintiff got into Defendant Cerritos’s vehicle and
  26
       asked, “What are you arresting me for?”
  27
  28
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   1           17.      Defendant Cerritos replied that he was arresting her “for prostituting
   2   while on parole.”
   3
               18.      Defendant Cerritos then drove the Plaintiff to a remote area, a blind spot
   4
       near the downtown Los Angeles metro layover bus station.
   5
               19.      Defendant Cerritos pulled his handgun from his uniform holster utility
   6
   7   belt and placed it against the Plaintiff’s head.
   8           20.      At that point, Defendant Cerritos then forced the Plaintiff to perform
   9   oral copulation at gunpoint.
  10
               21.      After the sexual assault, Defendant Cerritos then drove around with his
  11
       handgun held between his thighs.
  12
               22.      Defendant Cerritos then drove the Plaintiff to a different isolated area
  13
  14   and then stopped his vehicle and told her that she better keep her mouth shut, or he
  15   would kill her.
  16           23.      Defendant Cerritos then stated, “You’re on parole and can be easily
  17
       found,” while tapping his badge with his handgun.
  18
               24.      At that point, Defendant Cerritos then released the Plaintiff and allowed
  19
       her to leave.
  20
  21           25.      Defendant Cerritos knew or should have known that it is unlawful to use
  22   his LASD uniform, badge, nameplate, and utility belt with a weapon to both influence
  23   an arrest and commit a criminal act and/or civil violative infringement upon a parolee
  24
       under the jurisdiction of the CDCR, while imposing or acting under the color and
  25
       authority of law.
  26
               26.      On September 19, 2018, the Plaintiff was arrested for the offense of
  27
  28   Health and Safety Code 11352(a) – Transport/Sale of a Controlled Substance, and

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   1   was committed to the CDCR for a term of five (5) years in the Los Angeles County
   2   Jail (hereinafter, the “Jail”) and for violating her parole.
   3
               27.      On September 19, 2018, the Plaintiff was appropriately classified and
   4
       housed as a transgender woman as per Jail policy and practice in accordance with
   5
       CCR§§ 1050, 1006, and 1053 and Title 15 (safety and security isolated housing for
   6
   7   high-risk transgender inmates).
   8           28.      On September 25, 2018, the California Board of Prison Hearings
   9   (hereinafter, the “BPH”) revoked the Plaintiff’s parole and assessed her a 155-day
  10
       violation.
  11
               29.      Afterward, in September of 2018, Defendant Cerritos was summoned to
  12
       escort the Plaintiff. Upon seeing him, the Plaintiff became fearful and had an
  13
  14   anxiety/panic attack caused by post-traumatic stress disorder (hereinafter, “PTSD”)
  15   stemming from the sexual assault described above.
  16           30.      At that point, Defendant Cerritos seized the Plaintiff by her arm, and
  17
       while escorting her and outside of the presence of other deputies, pushed the Plaintiff
  18
       into a wall, pinning her with her right hand behind her back.
  19
               31.      Defendant Cerritos then stated, “You faggot, dumb 20-dollar ass bitch!
  20
  21   You ever pull a stunt like that again; I’ll personally see that you disappear and come
  22   up missing in this jail. This is my house.”
  23           32.      Defendant Cerritos then stated, “If you don’t keep your mouth shut, I’ll
  24
       have you killed in here!”
  25
  26
  27
  28
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   1           33.      On October 11, 2018, while housed in dorm 9500 1, the Plaintiff reported
   2   the sexual assault to several advocacy groups, and they in turn reported the sexual
   3
       assault to the LASD.
   4
               34.      Afterward, on the same day, the Plaintiff was ordered to participate in a
   5
       “sexual assault video interview” conducted by Defendant Inez.
   6
   7           35.      Defendant Inez threatened Plaintiff that if she pursued sexual allegations
   8   against Defendant Cerritos, she would be killed.
   9           36.      However, the Plaintiff informed Defendant Inez that she would continue
  10
       to pursue this claim.
  11
               37.      At that point, Defendant Inez became angry and called the Plaintiff a
  12
       “crazy faggot” and told the Plaintiff that “[you are] not entitled to a sexual assault
  13
  14   video.”
  15           38.      Defendant Inez then also stated that, because the Plaintiff had chosen to
  16   pursue the sexual assault video interview against Defendant Cerritos, Defendant Inez
  17
       would not provide the Plaintiff with the required referrals to medical for an
  18
       administered sexual assault kit, nor evaluations by mental health staff, nor any access
  19
       to the grievance process.
  20
  21           39.      Defendant Inez informed the Plaintiff that she was now “her enemy”
  22   and that Defendant Inez would stand by Defendant Cerritos.
  23           40.      At that point, the sexual assault video was finally conducted.
  24
               41.      On October 12, 2018, the Plaintiff filed a grievance reporting Defendant
  25
       Cerritos for pre-arrest sexual assault (as described herein in Claim One), while
  26
  27           1
                  Dorm 9500 (Specialized Housing) provides direct access to advocates and the grievance process, education
       treatment and care, Prison Rape Elimination Act (hereinafter, “PREA”) staffing, clinical hormonal treatment, and
  28   support.

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   1   Defendant Cerritos was wearing his official LASD uniform and utilizing his service
   2   handgun to coerce her.
   3
               42.      After filing the grievance, the Plaintiff learned that it had gone
   4
       “missing.”
   5
               43.      On October 21, 22, 26, and 29, the Plaintiff refiled her sexual assault
   6
   7   grievances. (attached hereto as Composite Exhibit “A”).
   8           44.      Defendant Inez later threatened the Plaintiff with physical violence and
   9   with removal from her classified assigned housing dorm (9500) to a mental health
  10
       housing dorm (9300) for the sole purpose of retaliation against the Plaintiff for filing
  11
       the allegations against Defendant Cerritos.
  12
               45.      On or about October 30, 2018, Defendant Inez specifically stated, “I
  13
  14   have mental health patients. I’ll instruct them to physically deal with you since you’re
  15   complaining and determined to get yourself hurt or killed! I can accommodate you.
  16   […] Since you relentlessly pursue your grievance against Deputy Cerritos, and I will
  17
       with endless effort, physically stop you pursuing these grievances!”
  18
               46.      Later that evening, on October 30, 2018, the Plaintiff, having been
  19
       placed in dorm 9300, was physically attacked by an inmate/patient, who later
  20
  21   informed the Plaintiff that a “lady deputy sergeant” gave him “a sack lunch” to hurt
  22   the Plaintiff. (See Exhibit “B”). Plaintiff suffered severe bodily injuries as a result
  23   of this attack.
  24
               47.      On November 28, 2018, Defendant Inez again summoned the Plaintiff
  25
       for another interview, wherein Defendant Inez stated, “So physical violence isn’t
  26
       enough for you, huh?”
  27
  28
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   1           48.      The Plaintiff then politely stated to Defendant Inez that LASD
   2   detectives had just interviewed her about the sexual assault committed by Defendant
   3
       Cerritos.
   4
               49.      Defendant Inez became agitated, throwing her hands up in the air and
   5
       stating, “You good-for-nothing, HIV-infested, dying, worthless piece of shit! No one
   6
   7   will ever believe your claim of sexual assault against any deputy because you’re just
   8   an inmate. […] Let me tell you what’s going to happen. I am not allowing any of
   9   your grievances through to the grievance coordinator for processing! Neither will I
  10
       allow you access to the law library, nor any legal mailing to the courts regarding this
  11
       grievance. All your mail will be routed to me to the trash can.”
  12
               50.      Defendant Inez then denied the Plaintiff access to an available grievance
  13
  14   process and administrative remedy, as indicated in Exhibit “D.”
  15           51.      Defendant Inez also denied the Plaintiff an available law library, fully
  16   equipped to assist her, as indicated in Exhibit “C.” 2
  17
               52.      In retaliation for Plaintiff’s filing of grievances, Defendant Inez then
  18
       further denied the Plaintiff access to both the Los Angeles Superior Court Civil
  19
       Division and the United States District Court by returning her legal mail to her ripped
  20
  21   up in a manila envelope routed to the Plaintiff through sealed Jail Inter-Departmental
  22   Mail, thus denying the Plaintiff’s First Amendment rights.
  23           53.      On January 17, 2019, the Plaintiff informed Sheriff Villanueva that she
  24
       was the victim of a sexual assault at the hands of Defendant Cerritos.
  25
  26
  27
               2
                  While an inmate is housed in mental health, he or she is temporarily restricted from any and all legal
  28   endeavors. (See, LASD Rule 8.42 (h), eff. July 1, 2017).

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   1           54.      The Plaintiff also informed Sheriff Villanueva that she was being
   2   harassed and retaliated against by Defendant Inez because of her efforts to exhaust
   3
       the available LASD grievance process.
   4
               55.      Plaintiff sought Sheriff Villanueva’s intervention to prevent further
   5
       harm.
   6
   7           56.      On February 19, 2019, Sheriff Villanueva responded directly to the
   8   Plaintiff’s submitted grievance, as indicated in Exhibit “E,” pages 3 and 4.
   9           57.      Sheriff Villanueva’s response was disingenuous and impersonal, and
  10
       not at all assuring to the Plaintiff that she was safe and secure, nor pledging to use
  11
       the authority of his office to remove Defendant Inez’s impediments to the Plaintiff
  12
       exhausting her administrative remedies, or to protect the Plaintiff.
  13
  14           58.      Sheriff Villanueva knew or should have known that the Prison Rape
  15   Elimination Act of 2003 (hereinafter, “PREA”) applied to the Jail and specifically to
  16   the Plaintiff’s allegations of sexual assault and threatening verbal abuses at the hands
  17
       of Defendant Cerritos and Defendant Inez.
  18
               59.      Sheriff Villanueva’s direct response to the Plaintiff proves that he failed
  19
       to act or intervene, although having direct knowledge of the Plaintiff’s allegations.
  20
  21           60.      Sheriff Villanueva knew or should have known that his failure to
  22   intervene on October 11, 2018, December 16, 2018, December 23, 2018, and January
  23   17, 2019, to ensure the Plaintiff's safety, even where his office was contacted by
  24
       outside community advocates. This failure subjected the Plaintiff to continuous
  25
       serious risk of harm, deliberate attacks, harassment, and death threats, both at the
  26
       hands of his staff and officials, as well as by other inmates.
  27
  28
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   1            61.       Sheriff Villanueva failed to enforce his policy and practice (See, Title
   2   15, CCR. §§ 1006, 1050, & 1053; Government Code § 845.6, 26605) to segregate
   3
       and protect transgender inmates.
   4
                62.       Furthermore, concerning all transgender prisoners in Sheriff
   5
       Villanueva’s Jail that are covered by the PREA category of “potentially vulnerable
   6
   7   deserving special attention and monitoring,” it is Sheriff Villanueva’s custom, policy,
   8   and practice to justifiably place those inmates “in accordance with the Title 15, CCR
   9   §1050).
  10
                63.       The Plaintiff needed high-risk security housing with a sergeant escort
  11
       and classification of [K5GC] or [K-10]3, which is Sheriff Villanueva’s responsibility
  12
       pursuant to his policies with respect to segregating inmates who are targets for
  13
  14   assault, to obtain the objective of protecting the welfare and safety of inmates and
  15   staff.
  16            64.       Defendant knew or should have known that under the PREA
  17
       requirements in 42 U.S.C. § 15601(13) and 42 U.S.C. § 15602(1), he was required to
  18
       ensure that his Jail facilities adopt a zero-tolerance approach to sexual assault and
  19
       harassment.
  20
  21            65.       Although Sheriff Villanueva had such a policy, he failed to enforce that
  22   policy with respect to the incidents of October 11, 2018, December 16, 2018,
  23   December 23, 2018, and January 17, 2019.
  24
                66.       Sheriff Villanueva knew or should have known as early as October 11,
  25
       2018, upon being contacted by PREA advocates from the Lesbian, Gay, Bisexual,
  26
       and Transgender community (hereinafter, “LGBT”) that there was an immediate
  27
  28            3
                    General population keep away/transgender/protective custody.

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   1   penological interest existing to require separating the Plaintiff from Defendant
   2   Cerritos and Defendant Inez within these Jail facilities.
   3
               67.      Sheriff Villanueva’s failure to separate the Plaintiff from Defendant
   4
       Cerritos and Defendant Inez subjected the Plaintiff to harassment, threats of physical
   5
       harm, and retaliation with the intent to thwart the sexual assault redress and grievance
   6
   7   procedure.
   8           68.      Sheriff Villanueva’s failure to intervene on October 11, 2018, December
   9   16, 2018, December 23, 2018, and January 17, 2019, essentially had the effect of
  10
       removing Plaintiff’s access to the available grievance process and administrative
  11
       remedies and/or making the same non-existent, at least with respect to Plaintiff.
  12
               69.      As discussed in more detail above and shown through Exhibits “A”
  13
  14   through “E,” Plaintiff exhausted her administrative remedies before filing the instant
  15   lawsuit.
  16                                    CAUSES OF ACTION
  17                                 FIRST CLAIM FOR RELIEF
                  Sexual Battery in Violation of Cal. Code § 1708.5 Against Defendant
  18                                            Cerritos
  19
  20
               70.      The allegations set forth in all previous paragraphs of the complaint are
  21
       incorporated by reference as if fully set forth herein.
  22
  23           71.      Cal. Civ. Code Section l 708.5(a) provides: A person commits a sexual
  24   battery who does any of the following: (1) acts with the intent to cause a harmful or
  25   offensive contact with an intimate part of another, and a sexually offensive contact
  26
       with that person directly or indirectly results. (2) Acts with the intent to cause a
  27
       harmful or offensive contact with another by use of his or her intimate part, and a
  28
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   1   sexually offensive contact with that person directly or indirectly results. (3) Acts to
   2   cause an imminent apprehension of the conduct described in paragraph (1) or (2),
   3
       and a sexually offensive contact with that person directly or indirectly results. Cal.
   4
       Civ. Code Section 1708.5(d) defines "intimate part" as the sexual organ, anus, groin,
   5
       or buttocks of any person, or the breast of a female.
   6
   7           72.      Cal. Civ. Code Section 1708.S(f) defines "offensive contact" to mean
   8   contact that offends a reasonable sense of personal dignity.
   9           73.      Plaintiff alleges that Defendant Cerritos committed acts of civil sexual
  10
       battery in violation of Cal. Civ. Code Section 1708.5, when on or about September
  11
       15, 2018, Defendant Cerritos willfully, maliciously, intentionally, and without the
  12
       consent of Plaintiff subjected her to forcefully perform oral sex against her will,
  13
  14   without her consent, and despite her express objection.
  15           74.      As a direct and/or proximate result of Defendant’s unlawful conduct as
  16   alleged hereinabove, Plaintiff has suffered physical injury, severe emotional distress,
  17
       humiliation, embarrassment, mental and emotional distress, and anxiety, all in an
  18
       amount exceeding the jurisdictional minimum of the Court according to proof at trial.
  19
               75.      As a direct and proximate result of Defendants' unlawful conduct as
  20
  21   alleged hereinabove, Plaintiff has suffered economic harm, loss of earnings, and
  22   other damages, all in an amount that exceeds the jurisdictional minimum of the
  23   Court, according to proof at trial.
  24
               76.      The aforementioned conduct by Defendant was willful, wanton, and
  25
       malicious. At all relevant times, Defendant acted with conscious disregard of the
  26
       Plaintiff's rights and feelings. Defendant also acted with the knowledge of or with
  27
  28   reckless disregard for the fact that his conduct was certain to cause injury and/or

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   1   humiliation to the Plaintiff. Plaintiff is further informed and believes that Defendant
   2   intended to cause fear, physical injury, and/or pain and suffering to the Plaintiff.
   3
               77.      By virtue of the foregoing, the Plaintiff is entitled to recover punitive
   4
       and exemplary damages from Defendants according to proof at trial.
   5
                               SECOND CLAIM FOR RELIEF
   6
                       LIABILITY OF ALL DEFENDANTS UNDER
   7                                42 U.S.C. § 1983
   8              (RETALIATION IN VIOLATION OF THE FIRST AMENDMENT)

   9
               78.      The allegations set forth in all previous paragraphs of the complaint are
  10
       incorporated by reference as if fully set forth herein.
  11
  12           79.      At all times, except for the sexual assault by Cerritos, Defendants were
  13   acting under color of state law as employees of the Los Angeles County Sheriff’s
  14   Office.
  15
               80.      As discussed in more detail above, Defendants acted contrary to law,
  16
       and intentionally, willfully, wantonly, and unreasonably deprived Plaintiff of her
  17
       rights, privileges, and immunities secured by the First Amendment to the United
  18
  19   States Constitution and 42 U.S.C. § 1983.
  20           81.      Plaintiff engaged in Constitutionally protected conduct, including filing
  21   grievances and filing lawsuits against Defendant Cerritos.
  22
               82.      Plaintiff was threatened with violence by Defendants if she did not
  23
       “keep her mouth shut.”
  24
               83.      Plaintiff was threatened with violence by Defendants if she complained
  25
  26   of Defendants’ conduct.
  27
  28
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   1           84.      Plaintiff was attacked and injured by another inmate. This attack was
   2   ordered by Defendant Inez in retaliation for Plaintiff exercising her First Amendment
   3
       right to file sexual assault grievances against Defendant Cerritos.
   4
               85.      Plaintiff was retaliated against by Defendants as punishment for filing
   5
       grievances.
   6
   7           86.      This retaliation would serve as a deterrent to a person of ordinary
   8   firmness from engaging in protected conduct.
   9           87.      The retaliation was motivated in part by the protected conduct.
  10
               88.      There was a causal connection between Plaintiff’s Constitutionally
  11
       protected conduct and the adverse retaliatory actions taken by Defendants against
  12
       Plaintiff.
  13
  14           89.      Defendants' actions in their individual capacities were intentional,
  15   malicious, willful, wanton, and/or in reckless disregard of Plaintiff’s federally
  16   protected rights, therefore entitling Plaintiff to an award of punitive damages.
  17
               90.      Plaintiff is entitled to recover punitive damages against Defendants in
  18
       their individual capacities in an amount greater than $1,000,000.
  19
               91.      Plaintiff is entitled to recover reasonable attorney’s fees and the costs
  20
  21   and expenses of this action.
  22                         THIRD CLAIM FOR RELIEF
                  LIABILITY OF DEFENDANT CERRITOS UNDER
  23                            42 U.S.C. § 1983
           (FALSE ARREST IN VIOLATION OF THE FOURTH AMENDMENT)
  24
  25
  26           92.      The allegations set forth in all previous paragraphs of the complaint are
  27   incorporated by reference as if fully set forth herein.
  28
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   1           93.      At all times, except for the sexual assault by Cerritos, Defendant
   2   Cerritos was acting under color of state law as an employee of the Los Angeles
   3
       County Sheriff’s Office.
   4
               94.      As discussed in more detail above, Defendants acted contrary to law,
   5
       and intentionally, willfully, wantonly, and unreasonably deprived Plaintiff of her
   6
   7   rights, privileges, and immunities secured by the Fourth to the United States
   8   Constitution and 42 U.S.C. § 1983.
   9           95.      On or about September 15, 2018, Defendant Cerritos, in the uniform of
  10
       the    Los Angeles Sheriff’s Department (hereinafter, “LASD”), approached the
  11
       Plaintiff pointing a handgun at her and stating, “Get in. I’m taking you to jail. If you
  12
       run, I’ll shoot you!”
  13
  14           96.      At that time, the Plaintiff got into Defendant Cerritos’s vehicle and
  15   asked, “What are you arresting me for?”
  16           97.      Defendant Cerritos replied that he was arresting her “for prostituting
  17
       while on parole.”
  18
               98.      Defendant Cerritos then drove the Plaintiff to a remote area, a blind spot
  19
       near the downtown Los Angeles metro layover bus station.
  20
  21           99.      Defendant Cerritos pulled his handgun from his uniform holster utility
  22   belt and placed it against the Plaintiff’s head.
  23           100.     At that point, Defendant Cerritos then forced the Plaintiff to copulate
  24
       orally at gunpoint.
  25
               101.     After the sexual assault, Defendant Cerritos then drove around with his
  26
       handgun held between his thighs.
  27
  28
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   1           102.     Defendant Cerritos then drove the Plaintiff to a different isolated area
   2   and then stopped his vehicle and told her that she better keep her mouth shut, or he
   3
       would kill her.
   4
               103.     Defendant Cerritos then stated, “You’re on parole and can be easily
   5
       found,” while tapping his badge with his handgun.
   6
   7           104.     At that point, Defendant Cerritos then released the Plaintiff and allowed
   8   her to leave.
   9           105.     Defendant Cerittos detained Plaintiff for such an unreasonable amount
  10
       of time that Defendant officers constructively placed Plaintiff under arrest.
  11
               106.     Defendant Cerritos lacked probable cause to arrest Plaintiff.
  12
               107.     Defendant Cerritos did not obtain a warrant to arrest Plaintiff.
  13
  14           108.     Defendant Cerritos deprived Plaintiff of her Fourth Amendment rights
  15   of being secure in her person by arresting her
  16           109.     Plaintiff's arrest was wrongful, without probable cause, and deprived
  17
       Plaintiff of his Fourth Amendment right to be free of unreasonable seizures.
  18
               110.     The actions of Defendant Cerritos proximately caused damages to
  19
       Plaintiff in loss of liberty, embarrassment, humiliation, pain and suffering, and
  20
  21   mental and emotional distress.
  22           111.     Defendant Cerritos acted willfully, knowingly and purposefully, and/or
  23   with deliberate indifference to deprive the Plaintiff of his Constitutional Rights.
  24
               112.     The actions of Defendant Cerritos in his individual capacity was
  25
       intentional, malicious, willful, wanton, and/or in reckless disregard of Plaintiff’s
  26
       federally protected rights, therefore entitling Plaintiff to an award of punitive
  27
  28   damages in an amount greater than $1,000,000.

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   1           113.     Plaintiff is entitled to recover reasonable attorney’s fees and the costs
   2   and expenses of this action.
   3
                            FOURTH CLAIM FOR RELIEF
   4                 LIABILITY OF ALL DEFENDANTS UNDER
   5                              42 U.S.C. § 1983
             (CRUEL AND UNUSUAL PUNISHMENT IN VIOLATION OF THE
   6           EIGHTH AMENDMENT AND FOURTEENTH AMENDMENT)
   7
   8
               114.     The allegations set forth in all previous paragraphs of the complaint are
   9
       incorporated by reference as if fully set forth herein.
  10
               115.     At all times, except for the sexual assault by Cerritos, Defendants were
  11
  12   acting under color of state law as employees of the Los Angeles County Sheriff’s
  13   Office.
  14           116.     At all times that Plaintiff was incarcerated in the Los Angeles County
  15
       Jail, Plaintiff was serving a sentence for offenses for which Plaintiff had already been
  16
       convicted.
  17
               117.     Because Plaintiff was a convicted prisoner at all times Plaintiff was
  18
  19   incarcerated in the Los Angeles County Jail, Plaintiff was entitled to protection under
  20   the Eighth Amendment.
  21           118.     Even if Plaintiff is not entitled to the protection of the Eighth
  22
       Amendment, Plaintiff is entitled to protections at least as extensive under the
  23
       Fourteenth Amendment as a pretrial detainee in the Los Angeles County Jail.
  24
               119.     84.     Plaintiff was attacked and injured by another inmate. These
  25
  26   inujuries were both physical and emotional in nature. This attack, ordered by
  27
  28
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   1   Defendant Inez, served no penological purpose but was maliciously ordered to cause
   2   harm to Plaintiff.
   3
               120.     Each of the Defendants was aware that Plaintiff was a transgender
   4
       female and was particularly vulnerable.
   5
               121.     As discussed in more detail above, Defendants acted with deliberate
   6
   7   indifference, contrary to law, and intentionally, willfully, wantonly, and
   8   unreasonably deprived Plaintiff of her rights, privileges, and immunities secured by
   9   the Eighth Amendment to the United States Constitution and 42 U.S.C. § 1983.
  10
               122.     Defendants' actions in their individual capacities were intentional,
  11
       malicious, willful, wanton, and/or in reckless disregard of Plaintiff’s federally
  12
       protected rights, therefore entitling Plaintiff to an award of punitive damages.
  13
  14           123.     Plaintiff is entitled to recover punitive damages against Defendants in
  15   their individual capacities in an amount greater than $1,000,000.
  16           124.     Plaintiff is entitled to recover reasonable attorney’s fees and the costs
  17
       and expenses of this action.
  18
                                                  JURY DEMAND
  19
               Plaintiff hereby demands that this matter be tried to a jury.
  20
  21                                         PRAYER FOR RELIEF
  22           WHEREFORE, Plaintiff prays for judgment as follows:
  23                    1. Compensatory damages to Plaintiff for injury, emotional distress, and
  24
                        for medical and psychological expenses;
  25
                        2. Punitive damages against Defendants INEZ and CERRITOS, and
  26
                        each of them;
  27
  28                    3. Attorney’s fees and costs; and

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   1               4. Such other and further relief as the court deems just and proper.
   2   Respectfully Submitted,

   3                                                                         Law Office of Keith Altman
       Dated:           February 7, 2021                                     By: /s/ Keith Altman
   4                    Farmington Hills, MI                                 Keith Altman (SBN 257309)
   5                                                                         30474 Fox Club Drive
                                                                             Farmington Hills, MI 48331
   6
                                                                             (516) 456-5885
   7                                                                         kaltman@lawampmmt.com
   8
                                                                             Attorney for Plaintiffs
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   1
   2                                    CERTIFICATE OF SERVICE

   3        Undersigned hereby states that on February 7, 2021, he caused the foregoing
   4        document to be filed electronically with the United States District Court and
            that a copy of said document was sent to all counsel of record through the
   5        CM/ECF system.
   6
   7         /s/ Keith Altman
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